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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

      v.                                                    Criminal Action No. 04-355 (CKK)
 MIQUEL MORROW, et al.,

    Defendants.


                                             ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, it is, this 25th day

of April, 2005, hereby

       ORDERED that [248] Defendants’ Joint Objections to the Government’s Proposed DNA

Evidence are DENIED to the extent the objections represent a generalized challenge to the

PCR/STR method or to the extent that they claim that DNA matches with relatively low

statistical values must be excluded under Daubert or Federal Rule of Evidence 403.; it is further

       ORDERED that, upon receipt of their own DNA experts’ reports, Defendants are to

notify the Court as to precisely what challenges, if any, they shall make to the admissibility of the

Government’s DNA evidence so that the Court can determine what issues, if any, will require a

hearing before presentation of that evidence to the jury.

       SO ORDERED.



                                                          /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge
